   Case 2:10-cr-00186-MHT-WC Document 2101 Filed 01/05/12 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )       2:10cr186-MHT
MILTON E. McGREGOR,                )           (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                 ORDER

    It   is   ORDERED     that    the    motions     in   limine        and

objections filed by the government and defendants Milton

E. McGregor, Thomas E. Coker, Larry P. Means, James E.

Preuitt, Harri Anne H. Smith, Jarrell W. Walker, Jr., and

Joseph R. Crosby (Doc. Nos. 1981, 1982, 1983, 1984, 1985,

1986, 1987, 1990, 1996, 1998, 1999, 2002, 2003, 2005,

2007, 2013 & 2091) are, respectively, granted in part and
   Case 2:10-cr-00186-MHT-WC Document 2101 Filed 01/05/12 Page 2 of 2




denied in part and sustained in part and overruled in

part as stated on the record on January 4, 2012.

    DONE, this the 5th day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
